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                             a California corporation
                         7

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                         9
                                                                                     United States Bankruptcy Court
                        10                                                            Eastern District of California
                                                                                           Sacramento Division
                        11

                        12
                               In Re:                                                                       Case No.:    18-22152-B-ll
                        13                                                                                  DC No.:      DL-04
                               Caffe Ettore Incorporated, a
                        14     California corporation                                                       Date:        n/a
                                                                                                            Time:        n/a
                        15     1 168 National Drive, Suite 10, Sacramento, CA 95834                         Judge:       Jaime
                               TIN: xx-xxx!447                                                              Courtroom:   32; Dept B
                        16                                                                                  Place:       501 1 Street, 6th Floor
                                                                                                                         Sacramento CA 95814
                        17                                                               Debtor(s).

                        18

                        19
                                                                     Stipulation Between Debtor and Five Star Bank
                        20                                                to Authorize Use of Cash Collateral
                                                                                  [11 U.S.C. § 363(c)(2)(A)]
                        21

                        22                Caffe Ettore Incorporated, a California corporation ("Debtor") and Five Star Bank, a California

                        23   banking corporation ("Bank") by and between their respective attorneys, stipulate and agree

                        24   ("Stipulation") as follows:

                        25                 1. Debtor filed a voluntary petition for relief under Chapter 1 1 of the Bankruptcy Code (1 1

                        26   U.S.C. § 101, et seq.) on April 10, 2018. No trustee has been appointed in Debtor's Chapter 1 1 case,

                        27   and Debtor is managing its affairs as debtor-in-possession.

                        28                2. Jurisdiction for this stipulation exists pursuant to 28 U.S.C. § 1334 and 1 1 U.S.C. § 363.
     Dahl Law
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                 1                 3. Debtor is engaged in the business of retail and wholesale bakery & cafes in the Sacramento

                 2   metropolitan area under the trade names "Ettore's" and "Ettore's European Bakery" ("the Business").

                 3                 4. Bank is a creditor of Debtor, and Debtor believes that Bank has a perfected first priority

                 4   security interest in substantially all of the personal property assets of Debtor and the estate, including

                 5   specifically but without limitation, the inventory, accounts receivable, chattel paper, general intangibles,

                 6   furniture, fixtures and equipment, and the proceeds thereof, of the Business.

                 7                 5. In the ordinary course of operation of the Business, it will be necessary for Debtor to use the

                 8   receivables, inventory, and other personal property in which Bank asserts a security interest.

                 9   Specifically, it is imperative that Debtor be allowed the use of cash collateral to pay employee's payroll,

             10      pay suppliers and overhead expenses for running the Business, and to pay other administrative expenses,

             11      including quarterly fees to the United States Trustee.

             12                    6. The use of cash collateral by Debtor to pay suppliers and overhead will result in Debtor and

             13      the estate obtaining new inventory and receivables that otherwise would not be available to the estate.

             14      Pursuant to this Stipulation, such new inventory and receivables shall constitute replacement collateral

             15      to Bank, as a part of the adequate protection to which Bank is entitled in consideration of the use of its

             16      existing collateral.

             17                    7. Subject to the provisions of this Stipulation, Debtor is authorized to utilize the inventory and

             18      accounts of the Business, and the proceeds thereof, to pay customary and normal operating expenses

             19      in the ordinary course of the Business, and to pay administrative expenses including quarterly fees to

             20      the United States Trustee in accordance with the monthly budget attached as Exhibit "A", with up to

             21      a 10% monthly variance above each line item amount being allowed at the discretion of Debtor.

             22                    8. Nothing in this Stipulation shall preclude Debtor from requesting Bank's consent to the

             23      payment of a retainer or periodic compensation to its authorized professionals, subject to the notice and

             24      advance approvals otherwise required by Bankruptcy Code §§ 326-331, and Bank agree to evaluate and

             25      respond to any such requests in good faith and on a timely basis. In the event any such requests are

             26      approved, Debtor shall modify the monthly budget attached as Exhibit "A" and shall provide a copy of

             27      such modified budget to Bank and to all parties which have then requested special notice in Debtor's

             28      case. Other than as otherwise required by Bankruptcy Code §§ 326-331, it shall not be necessary to

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                 1   obtain court approval for the requisite modification of this Stipulation. Notwithstanding the foregoing,

                 2   this Stipulation shall not constitute consent to the use of cash collateral for the purposes set forth in this

                 3   Paragraph, other than as to the $4,000 per month line item set forth on Exhibit "A" to be tendered to the

                 4   client trust account of Dahl Law, Attorneys At Law as part of its initial retainer for services as Debtor' s

                 5   bankruptcy counsel.

                 6                9. Debtor shall establish and maintain its debtor-in-possession accounts solely at American

                 7   River Bank.              Debtor shall deposit all of its gross receipts, including all cash, checks, money orders,

                 8   credit card receipts, and debit card and other EFT's, directly and exclusively into its DIP accounts at

                 9   American River Bank,

             10                    i 0. During the term of this Stipulation, Debtor shall not purchase, lease, order, or otherwise

             11      become obligated to acquire any motor vehicle, or any item of furniture, fixtures and equipment in

             12      excess of a total cost of $1,000.00, without the prior written consent of Bank.

             13                    11.     During the term of this Stipulation, Debtor shall, to the extent practicable, minimize

             14      purchases and other transactions in currency and coin, other than as part of its normal cash sales to retail

             15      customers. During the term of this Stipulation, Debtor shall maintain a cash disbursements journal, to

             16      which shall be posted contemporaneously with each non-retail cash expenditure, the date, payee name,

             17      invoice number, description, and amount. Copies ofthisjournal shall be provided to Bank upon request.

             18                    12. During the term of this Stipulation, Debtor shall maintain a cash receipts journal, to which

             19      shall be posted contemporaneously with each non-retail cash receipt, the date, customer name, invoice

             20      number, description, and amount. Copies of this journal shall be provided to Bank upon request.

             21                    13. During the term ofthis Stipulation, Debtor shall maintain a disbursements journal, to which

             22      shall be posted contemporaneously with each disbursement other than cash and payroll, the date, check

             23      number, payee, invoice or P.O. number, description, budget line category, and amount. Copies of this

             24      journal shall be provided Bank upon request.

             25                    14. During the term of this Stipulation, Debtor shall provide to Bank upon request complete

             26      copies of all payroll journals, tax withholding schedules and other reports prepared by its payroll

             27      service.

             28                    15. On or before the 15th day of each month during the term of this Stipulation, Debtor shall

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                 1   provide to Bank a complete copy of its monthly report of operations for the immediately preceding

                 2   month, which report shall contain an income and expense schedule in the same format and with the same

                 3   line item entries as the budgets attached as Exhibit "A", and shall include "budgeted", "actual" and

                 4   "variance" columns for each line item.

                 5                 1 6. As adequate protection, during the term of this Stipulation, on or before the 1 5th day of each

                 6   month Debtor shall tender to Bank interest-only payments on each of the following loans:

                 7
                              Description                   Loan #                Principal       Undisbursed   Interest-Only       Principal &    Maturity
                                                                                  Balance                           Payment          Interest
                 8
                                                                                                                                    Payment

                 9     Equipment Term                   32514057              $    78,560.21                0   $
                                                                                                  $                      400    $         2,750   May 1, 2020

             10        Revolving Line                   31806876              $   500,000.00      $         0   $      3,350    $         5,702   May 7, 2018


             11        Working Capital                  922518694             $   225,000.00      $         0   $      1,241    $         2,800   Mar 1,2027

                       Production Facility              932517902             $ 1,536,538.08      $         0   $      8,047    $        18,740   Mar 1,2027
             12
                       Roseville                        932517910             $ 1,024,358.72      $         0   $      5,365    $        12,494    Apr 1,2027
             13
                       Letter of Credit                 31806819              $               0   $   66,340                                      Jan 10, 2019
             14
                                  1 7. The authorization for use of cash collateral provided by this Stipulation shall be from April
             15
                     10, 2018 through and including June 30, 2018, or the date of entry of an order confirming a plan of
             16
                     reorganization in this case, whichever occurs earlier. Following final approval of this Stipulation by
             17
                     the bankruptcy court, Debtor and Bank may extend its term by written agreement without the necessity
             18
                     of further notice and hearing or court order.
             19
                                  18.     As adequate protection against any decrease in the value of their interest in any of its
             20
                     collateral and cash collateral, and to the same extent that their pre-petition collateral and cash collateral
             21
                     are expended, Bank is granted a security interest in all post-petition property of Debtor, the Business
             22
                     and the estate of the same type and in the same relative priority in which Bank had a perfected pre-
             23
                     petition security interest. The replacement lien(s) are limited to an amount equal to the diminution in
             24
                     value ofthe pre-petition collateral resulting from Debtor's post-petition operations. Such post-petition
             25
                     security interest shall be subordinate only to existing, valid, perfected, and non-avoidable liens and
             26
                     encumbrances senior to the pre-petition liens held by Bank (if any), and to the compensation and
             27
                     expense reimbursement (excluding professional fees) which ultimately may be allowed to any trustee
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                 1    who may be subsequently appointed in this case.

                 2                19. As additional adequate protection against any decrease in the value of Bank's interest in any

                 3   of its collateral and cash collateral, Bank is granted a security interest in all personal property of Debtor,

                 4   the Business and the estate. Such security interest is limited to an amount equal to the diminution in

                 5   value of the pre-petition collateral resulting from Debtor's post-petition operations.          Such security

                 6   interest shall be subordinate only to senior pre-petition, valid, perfected, and non-avoidable liens and

                 7   encumbrances against such property (if any), and to all the expenses of administration under Chapter

                 8   7 (including professional fees) in the event Debtor's Chapter 1 1 case is converted prior to confirmation

                 9   of a plan of reorganization.

             10                   20. The security interests granted to Bank by this Stipulation shall be perfected by operation of

             11      law upon entry of an order approving this Stipulation without the necessity of filing UCC-1 financing

             12      statements with the California Secretary of State or fixture filings with the applicable County Recorder.

             13                  21 . In the event that, notwithstanding the adequate protection provided by this Stipulation, the

             14      cash collateral of Bank is diminished during the period of use covered by this Stipulation, Bank shall

             15      have an allowed claim under Bankruptcy Code §507(a)(l) in the amount of such diminution, and such

             16      claim shall have priority over every other claim allowable under such subsection, subject to the

             17      limitations of Bankruptcy Code §726(b). Bank' rights under Bankruptcy Code §507(b) are preserved.

             18                  22. Debtor waives any rights of the estate under Bankruptcy Code §506(c) for recovery against

             19      Bank or its collateral of the costs and expenses of preserving such collateral incurred during the period

             20      the estate is entitled to use cash collateral pursuant to this Stipulation.

             21                  23. Nothing in this Stipulation shall preclude Debtor from filing a motion with this court for

             22      authorization to use Bank's cash collateral on terms and conditions different than as set forth in this

             23      Stipulation, or in the event that Bank terminates its consent to the use of cash collateral pursuant to this

             24      Stipulation.

             25                  24.     Nothing in this Stipulation shall preclude Debtor or any other party in interest from

             26      contesting the validity, perfection or amount of Bank's liens or debts, or the relative priorities between

             27      and among Bank's liens, and any liens or encumbrances of any person not a party to this Stipulation.

             28                  25. Nothing in this Stipulation shall affect or limit the right of Bank to take any action or file

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                 1   any pleading in this case, including, without limitation, a motion for relief from stay and/or for adequate

                 2   protection.

                 3                 26. The occurrence of any one or more ofthe following shall constitute an event of default under

                 4   this Stipulation:

                 5                                a. Debtor's failure to timely perform any obligation under the terms of this Stipulation;

                 6                                b. appointment of a trustee under Bankruptcy Code §1 104;

                 7                                c. conversion of this Chapter 1 1 case to a case under Chapter 7;

                 8                                d. resignation or removal of Ettore Ravazzolo as Debtor's President;

                 9                                e. sale or transfer of sufficient outstanding shares of Debtor's common stock to effect

             10      a change in the person now holding the controlling interest;

             11                    27. Upon the occurrence of an event of default, Bank may terminate its consent to the use of

             12      cash collateral in the event such default is not fully cured within three (3) business days following e-mail

             13      transmission of written notice of default to Debtor's counsel, provided however that Bank's consent to

             14      the use of cash collateral shall automatically terminate upon conversion ofthis Chapter 1 1 case to a case

             15      under Chapter 7.

             16                    28. This Stipulation is subject to Bankruptcy Court approval after notice and hearing pursuant

             17      to Fed. R. Bankr. P. 4001(d).

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             19                                                             [remainder ofpage intentionally left blank]

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                 1                29. Except as may be specifically identified and justified below, this Stipulation contains only

                 2   operative provisions which will normally be approved by the court in accordance with Guidelinesfor

                 3   Cash Collateral and Financing Stipulations adopted June 16,1994 by the United States Bankruptcy

                 4   Court for the Eastern District of California:

                 5               Provisions which would not normally be approved: None.

                 6

                 7 Dated:            17-Apr-2018
                                     17"Apr-2018                                           Dahl Law,
                                                                                           ATTORNEYS AT LAW
                 8

                 9
                                                                                           By:
             10                                                                                   Walter R. Dahl
                                                                                           Attorneys for Caffe Ettore   Incorporated,   a
             11                                                                            California corporation

             12
                     Dated:                                                                Hefner Stark & Marois, LLP,
             13                                                                            ATTORNEYS AT LAW


             14

             15                                                                            By:
                                                                                                 Thomas P. Griffin, Jr.
             16                                                                            Attorneys for Five Star Bank, a       lifornia
                                                                                           banking corporation
             17

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    Caffe Ettore, Inc.
    Cash Flow History and Forecast
    Updated Through: 16‐Apr‐2018
    Forecast Week                              3                           4                         5                           6                         7                          8                          9                         10                         11                         12                         13
    Status                                  Forecast                    Forecast                  Forecast                   Forecast                   Forecast                   Forecast                   Forecast                  Forecast                   Forecast                   Forecast                   Forecast
    Week Beginning                         4/9/2018                    4/16/2018                 4/23/2018                  4/30/2018                  5/7/2018                   5/14/2018                  5/21/2018                 5/28/2018                  6/4/2018                   6/11/2018                  6/18/2018
    Week Ending                            4/15/2018                   4/22/2018                 4/29/2018                   5/6/2018                  5/13/2018                  5/20/2018                  5/27/2018                  6/3/2018                  6/10/2018                  6/17/2018                  6/24/2018
    Total Cash Beg of Week                       40,000                       2,404                    46,946                      44,632                    35,187                     31,001                   171,081                    127,813                    138,008                    146,582                    154,081
    Cash Inflow
    FO Daily Sales                                   115000                     115000                     115000                     115000                     130000                     115000                    115000                     115000                     115000                     115000                     115000
    Roseville Sales                                   85000                      85000                      85000                      85000                     100000                      85000                     85000                      85000                      85000                      85000                      85000
    Nugget Collections                                22500                      22500                      27500                      22500                      22500                      22500                     22500                      22500                      22500                      22500                      22500
    Wedding / Specialty Cakes                          3000                       3000                       3000                       3000                       3000                       3000                      3000                       3000                       3000                       3000                       3000
    Other Wholesale                                   29000                       2500                                                 27000                                                                                                                                 27000
    Other
     Total Cash Inflow                                254,500               228,000               230,500               252,500               255,500               225,500               225,500               225,500               252,500               225,500               225,500
    Cash Outflow
    Payroll
    401k Benefit                                                                                  4100                                     4100                                                                                                4100                                     4100
    Insurance                                         30000                                                                               30000                                                                                               30000                                    30000
    Payroll                                          110000                  60000              110000                60000              110000                                                                         100000                25000                75000              100000                75000
    Insurance & 401k Deductions                                               ‐7500                                    ‐7500                                                                                              ‐7500                                     ‐7500                                    ‐7500
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    COGS Payroll Total                                140,000
                                                                            52,500             114,100               52,500             144,100                           ‐                                            100,000               59,100               75,000             134,100               75,000




                                                                                                                                                                                                                                                                                                                                                Exhibit A
    Materials and Other COGS                             30000                  60000                60000                60000                60000                60000                 60000                60000                60000                60000                60000




                                                                                                                                                                                                                                                                                                                                                 Page 1
    Mat and Other COGS Total PAID OUT                   30,000                 60,000               60,000               60,000               60,000               60,000                60,000               60,000               60,000               60,000               60,000
    Operating Expenses
    G&A Payroll                                                                    53,240                                               53,240                                                                            53,240                                              53,240                                                53,240
    Rent & CAM                                          50,448                                                                          37,670                     12,778                                                                          37,670                     12,778
    Consulting Fees
    Materials and Supplies                                 7,500                    7,500                      7,500                      7,500                      7,500                      7,500                   7,500                        7,500                      7,600                      7,500                      7,500
    Music
    Vehicle Leases                                                                                                                            476                                                                                                        476
    Cleaning                                               8,182                                                                          8,182                                                 8,182                                                8,182                                                 8,182
    Fuel                                                   1,385                    1,385                      1,385                      1,385                      1,385                      1,385                   1,385                        1,385                      1,385                      1,385                      1,385
    Accounting                                                                                                 1,000                                                                                                    1,000                                                                                                         1,000
    Legal                                                                                                                                 4,000                                                                                                      4,000
    Cloud 
    Monthly Merchant Fees                                                                                                                     600                                                                                                        600
    Equipment Lease                                     11,570                       488                           413                    8,610                    11,570                           488                       413                    8,610                    11,570                                                      487
    Copier Leases/Costs                                                           1,161                                                                                                         1,161                                                                                                      1,161
    General Liability/Workers Comp.                     16,285                    1,618                                                 16,285                                                  1,618                                              16,285                                                  1,618
    Pest Control                                                                     480                                                                                                                                      480                                                                                                         480
    Petty Cash Reimb
    Daily Merchant Fees                                    3,750                    3,750                      3,750                      3,750                      3,750                      3,750                   3,750                        3,750                      3,750                      3,750                      3,750
    Sales Tax                                                                                                33,666                                                                                                   30,000                                                                                                        30,000
    Telephone/Internet/Cable                               2,126                       305                                                1,023                      1,103                          305                                              1,023                      1,103                          305
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    Miscellaneous ‐ Non COGS                                                                                                              3,374                                                                                                      3,374
    Owner Draws                                                                                              10,500                                                                                                     10,500
    Repairs/Maintenance                                       500                       500                        500                        500                        500                        500                       500                        500                        500                        500                        500
    Utilities                                                 579                 13,850                                                                                 579                  13,850                                                     579                  13,850
    Operating Expenses Total                          101,246                 69,927                        58,714                   146,095                       38,086                     24,389              108,768                          92,855                     91,426                    23,901                     97,842
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    Caffe Ettore, Inc.
    Cash Flow History and Forecast
    Updated Through: 16‐Apr‐2018
    Forecast Week                           3                         4                        5                              6                       7                       8                         9                             10                       11                       12                            13
    Status                               Forecast                  Forecast                 Forecast                      Forecast                 Forecast                Forecast                  Forecast                      Forecast                 Forecast                 Forecast                      Forecast
    Week Beginning                      4/9/2018                  4/16/2018                4/23/2018                     4/30/2018                5/7/2018                5/14/2018                 5/21/2018                     5/28/2018                6/4/2018                 6/11/2018                     6/18/2018
    Week Ending                         4/15/2018                 4/22/2018                4/29/2018                      5/6/2018                5/13/2018               5/20/2018                 5/27/2018                      6/3/2018                6/10/2018                6/17/2018                     6/24/2018
    COGS, OpEx, & Payroll Subtotal                 271,246                   182,427                 232,814                       258,595                  242,186                    84,389                 268,768                       211,955                  226,426                  218,001                       232,842
    EXTRA EXPENSES
    Financing / Investing
    Interest on New Loans                            17,500                                                                                                    17,500                                                                                                   17,500
    Sprinter Loan                                                                1,031                                                                                                   1,031                                                                                                                                   1,031
    Five Star Loan Payment                              3,350                                                                           3,350                                                                                                    3,350
    Financing / Investing Total                      20,850                    1,031                               ‐                    3,350                 17,500                     1,031                              ‐                    3,350                 17,500                               ‐                    1,031
       Cash Outflows                               292,096               183,458               232,814               261,945               259,686                 85,420               268,768               215,305               243,926               218,001               233,873
    Weekly Change in Cash                           (37,596)                 44,542                     (2,314)                (9,445)                (4,186)             140,080               (43,268)               10,195                                             8,574                    7,499                       (8,373)
    Ending Cash                                     2,404                   46,946                      44,632                     35,187                   31,001                 171,081                     127,813                     138,008                  146,582                    154,081                     145,708
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                                                                                                                                                                                                                                                                                                                                         Exhibit A
                                                                                                                                                                                                                                                                                                                                          Page 2
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